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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00246-DAD-BAM
12                               Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT
13                         v.                          FOR DEFENDANT JOSE LOZANO; FINDINGS
                                                       AND ORDER
14   RUBEN CORTEZ-ROCHA,
     JOSE LOZANO,                                      CURRENT DATE: March 2, 2020
15    aka “Junior”                                     CURRENT TIME: 10:00 p.m.
     SADOL DIAZ-BELTRAN, and                           COURT: Hon. Dale A. Drozd
16   RICARDO ZEPEDA-NAVARRO,
                                                       PROPOSED DATE: March 23, 2020
17                               Defendants.
                                                       PROPOSED TIME: 10:00 p.m.
18                                                     COURT: Hon. Dale A. Drozd

19
                                                STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and defendant JOSE
21
     LOZANO (“LOZANO”), by and through his counsel of record, Eric Kersten, hereby stipulate as
22
     follows:
23
            1.     On December 3, 2018, defendants LOZANO and ZEPEDA-NAVARRO made their
24
     initial appearances and were arraigned on the indictment. Time was excluded under the Speedy Trial
25
     Act until their detention hearing on December 5, 2018. Doc. 12.
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            2.     At a detention hearing on December 5, 2018, defendant LOZANO was released on
27
     conditions. The Court set a status conference for February 11, 2019, and excluded the time from
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 1 December 5, 2018, through February 11, 2019 under the Speedy Trial Act. Doc.23.

 2          3.      At the status conference on February 11, 2019, the Court set a further status conference

 3 on May 13, 2019, and excluded time from February 11, 2019, through May 13, 2019. Doc. 50.

 4          4.      On May 9, 2019, the Court granted the defendant’s request to continue the status

 5 conference to August 26, 2019 at 1:00 pm, and excluded time from May 13, 2019 to August 26, 2019,

 6 inclusive, under the Speedy Trial Act. Doc. 60.

 7          5.      At the status conference on August 26, 2019, the Court set a further status conference on

 8 November 12, 2019, and excluded time from August 26, 2019, through November 12, 2019. Doc. 70.

 9          6.      On November 7, 2019, the Court granted the defendant’s request to vacate the November

10 12, 2019 status conference and to set a change-of-plea hearing for January 15, 2020, at 10:00 a.m., and

11 excluded time from November 12, 2019, through January 15, 2020. Doc. 78.

12          7.      On January 9, 2020, the Court granted defendant’s request to continue the change-of-plea

13 hearing from January 15, 2020, to February 3, 2020, at 10:00, and excluded time from January 15, 2020

14 through February 3, 2020. Doc. 86.

15          8.      On January 30, 2020, the Court granted defendant’s request to continue the change-of-

16 plea hearing from February 3, 2020, to March 2, 2020, at 10:00, and excluded time from February 3,

17 2020 through March 2, 2020. Doc. 92.

18          9.      By this stipulation, the parties now move to continue the change-of-plea hearing currently

19 set for March 2, 2020, to March 23, 2020, and to exclude time between March 2, 2020, and March 23,

20 2020, inclusive, under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv).
21          10.     Defendant LOZANO has reached a tentative plea agreement with the government, which

22 the government recently filed. Defendant anticipates that he will be remanded into custody upon entry

23 of his guilty plea. Mr. Lozano is requesting that the March 2, 2020 change of plea hearing be continued

24 to March 23, 2020, to allow time for Mr. Lozano to finish getting his affairs in order prior to remand.

25 If, however, defendant ultimately does not enter his guilty plea and decides to proceed to trial, the

26 parties agree and stipulate, and request that the Court find the following:
27                  a)     The government has represented that the discovery associated with this case

28          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

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 1          of which are in a foreign language. This discovery has been produced directly to counsel.

 2                 b)      Counsel for defendant desires additional time to review the current charges, to

 3          review the discovery, to conduct research and investigation related to the charges and potential

 4          pretrial motions, and to consult with his client.

 5                 c)      Counsel for defendant has various conflicts in other cases between now and the

 6          proposed March 23, 2020 hearing that would not reasonably permit him to try this case any time

 7          between now and at least March 23, 2020.

 8                 d)      Counsel for defendant believes that failure to grant the above-requested

 9          continuance would deny him the reasonable time necessary for effective preparation, taking into

10          account the exercise of due diligence.

11                 e)      Based on the above-stated findings, the ends of justice served by continuing the

12          case as requested outweigh the interest of the public and the defendant in a trial within the

13          original date prescribed by the Speedy Trial Act.

14                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15          et seq., within which trial must commence, the time period of March 2, 2020, and March 23,

16          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv)

17          because it results from a continuance granted by the Court at defendant’s request on the basis of

18          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

19          of the public and the defendants in a speedy trial.

20          11.    Nothing in this stipulation and order shall preclude a finding that other provisions of the

21 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

22 must commence.

23          IT IS SO STIPULATED.

24
      Dated: February 26, 2020                                  McGREGOR W. SCOTT
25                                                              United States Attorney
26
                                                                /s/ ANGELA L. SCOTT
27                                                              ANGELA L. SCOTT
                                                                Assistant United States Attorney
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 1 Dated: February 26, 2020                             __ s/ per email authorization______
 2                                                      ERIC KERSTEN
                                                        Counsel for Defendant
 3                                                      JOSE LOZANO

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 5

 6                                        FINDINGS AND ORDER

 7          Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the

 8 change-of-plea hearing for defendant JOSE LOZANO currently set for March 2, 2020, is hereby

 9 continued to March 23, 2020 at 10:00 a.m. before the Honorable Dale A. Drozd, and that the time period
10 between March 2, 2020, and March 23, 2020, inclusive, is excluded from the calculation under the

11 Speedy Trial Act pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv) for the reasons stated in the

12 parties’ stipulation.

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     IT IS SO ORDERED.
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15      Dated:    February 27, 2020
                                                     UNITED STATES DISTRICT JUDGE
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